         Case 1:20-cv-08049-LAP Document 27 Filed 11/15/21 Page 1 of 1



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ANDREA SAYGER,

                      Plaintiff
                                                        20 CV. 8049 (LAP)
               -against-
                                                              ORDER
ASSUREDPARTNERS INC., et al.,

                      Defendants.

LORETTA A. PRESKA, Senior United States District Judge:

     The    parties    shall   appear       for   a   conference   on   Thursday,

January 6, 2022 at 9:00 a.m. in Courtroom 12A.

SO ORDERED.

Dated:       November 15, 2021
             New York, New York

                                            LORETTA A. PRESKA
                                            Senior United States District Judge




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